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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 15-3856

                                         Claire J. Lee

                                                    Appellant

                                               v.

 Hennepin County and Hennepin Healthcare System, Inc., doing business as Hennepin County
                                    Medical Center

                                                    Appellees

______________________________________________________________________________

         Appeal from U.S. District Court for the District of Minnesota - Minneapolis
                                    (0:13-cv-01328-PJS)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 03/08/2017, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     June 22, 2017




Clerk, U.S. Court of Appeals, Eighth Circuit




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